  Case: 1:95-cr-00242 Document #: 2124 Filed: 05/10/18 Page 1 of 1 PageID #:2785



                       IN THE UNITED STATES DISTRICT COURT
                                     FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 United States of America ,

 Plaintiff,

 v.                                                    Case No. 95-cr-242-7
                                                       Judge Robert W. Gettleman
 Durwin Baker,

 Defendant.

                                            ORDER

       Status hearing on Special Report held on 5/10/2018. The Court orders a bench warrant to
issue as a detainer for apparent violations of supervised release. Status hearing set for 11/7/2019
at 9:00 a.m.


(00:04)




Date: 5/10/2018
                                                     United States District Judge
                                                     Robert W. Gettleman
